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                EXHIBIT C
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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND




 LA UNIÓN DEL PUEBLO ENTERO, et al.,


                      Plaintiffs,
       v.


DONALD J. TRUMP, sued in his official                Civil Action No. 8:19-CV-02710-PX
capacity as President of the United States, et
al.,


                      Defendants.



               EXPERT DECLARATION OF DR. WILLIAM P. O’HARE


Overview
      1.      This report makes six key points:

              a. Over the past several U.S. Censuses, the empirical evidence shows that groups

                  with lower self-response rates have higher net undercounts and omission rates.

                  This indicates that states and groups with lower self-response rates in the 2020

                  Census are likely to have higher net undercount and omission rates.

              b. Census tracts where Hispanics and Blacks are the plurality of the population

                  have lower self-response rates in the 2020 Census than tracts where Non-

                  Hispanic Whites are the plurality of the population in the 2020 Census. This




                                                 1
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                  indicates Hispanics and Blacks are likely to have higher net undercounts and

                  omissions rates than Non-Hispanic Whites in the 2020 Census.

               c. Census tracts where the foreign-born population is a disproportionately high

                  share of the tract population have lower self-response rates in the 2020 Census

                  and are likely to have higher net undercounts and omissions rates than the

                  native-born population in the 2020 census.

               d. Based on data from the 2010 and 2020 Census, households that respond later

                  in the Census data collection period are disproportionately Hispanic, Asian,

                  and Black rather than Non-Hispanic White. This means changes at or near the

                  end of the data collection period are likely to have bigger impact on

                  Hispanics, Asians, and Blacks.

               e. Net undercounts and omissions in the U.S. Census have important

                  implications for the groups missed at the highest rates.

               f. Changing the end date of data collection in the 2020 Census from October 31,

                  2020 to September 30, 2020, will negatively impact the enumeration of

                  Hispanic, Asians, and Blacks more than Non-Hispanic Whites.


Background
       2.      I have more than forty years of experience using Census data in a variety of

professional settings, including experience in non-profits, philanthropy, state government, and

university settings. Since 1987, I have worked at the Population Reference Bureau, the

University of Louisville, and the Annie E. Casey Foundation.




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       3.      I have a Bachelor of Science Degree from Michigan State University in Multi-

Disciplinary Social Science. I have a master’s degree from Michigan State University in Multi-

disciplinary Social Science, I have a Ph.D. from Michigan State University in Sociology.

       4.      I have published many articles in scientific journals and written many books and

book chapters based on Census Bureau data. I have authored more than a dozen monographs on

subjects such as the well-being of children, poverty, and minorities in America. I have also

made many presentations using Census data at professional conferences. While serving as the

Director of the KIDS COUNT project within the Annie E. Casey Foundation from 1993 to 2006,

I supervised the use of Census data related to measuring and reporting on the well-being of

children.

       5.      I have been a member of the Population Association of America, the Southern

Demographic Association, and the American Statistical Association since the 1970s.

       6.      I served on the Board of Directors and was President of the Southern

Demographic Association. I was a founding member of the International Society of Child

Indicators, and served on their Board of Directors for many years.

       7.      From 1995 to 2001, I was a representative from the American Statistical

Association on the Census Bureau’s Professional Advisory Committee. From 2008 to 2011, I

was a representative from the Association of Public Data Users on the Census Bureau’s 2010

Census Advisory Committee.

       8.      I was awarded a National Science Foundation/American Statistical

Association/Census Bureau Research Fellowship to do research on census undercounts at the

Census Bureau from 2011 to 2013.




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       9.      In 1980, I was awarded a Fulbright Scholarship to teach demographic and social

science research methods at the University of San Carlos in the Philippines during their 1980-81

school year.

      10.      I have been retained by Plaintiffs in La Uniόn del Pueblo Entero v. Trump et al.,

Case No. 8-19-cv-02710 (D. Md.). I was asked to assess the impact of truncating the schedule

for the 2020 Census, including moving the end date for 2020 Census data collection from

October 31, 2020 to September 30, 2020.

       11.     I am being compensated at a rate of $100 per hour.

I. The Link Between Self-Response Rates and Census Accuracy.

1.1 Key Concepts and Terms

       12.     Before presenting the analysis and results in this section of my report, it is

important to define some key concepts and terms used in this report. The descriptions in this

section of the report focus on census operations prior to the 2020 Census. Analysis in this section

focuses on the relationship between census self-response and census accuracy. In the next

sections, I focus on the 2020 Census.

1.1.2 Self-Response Rates

       13.     Briefly, the U.S. decennial Census can be thought of as having two major data

collection phases: 1) a self-response phase and 2) a non-response followup (NRFU) phase. The

self-response phase consists of households returning the questionnaire that was mailed to them

from the Census Bureau. In the 2020 Census for the first time in the history of the decennial

census, major modes of self-response operation will include internet and telephone responses




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along with mail responses. 1 According to the U.S Census Bureau, (2020d) as of August 16,

2020, 80 percent of the responses submitted have been by Internet, 18.5 percent by paper, and

1.5 percent by telephone.

        14.      Several weeks after Census day (April 1) the second phase of the Census begins,

and households that did not return a completed Census questionnaire are visited by a Census

enumerator to gather the information needed for the Census. This is referred to as Nonresponse

Followup ((NRFU) operation or phase by the Census Bureau.2 A few people belatedly self-

respond during the NRFU phase. There are also other Census operations (like update leave and

update enumerate) 3 that are outside of these two operations, but the vast majority of Census

respondents are captured in the self-response and NRFU operations of the Census.

        15.      Self-response rates reflect the percent of households that return a completed

Census questionnaire. In my analysis of the 1990, 2000 and 2010 Decennial Censuses, self-

response is measured by two closely related indicators: mail return rates and mail response rates

(because historically mail has been the primary mode of self-response). Detailed descriptions of

mail return rates and the mail response rates are provided by the Census Bureau (2014b, page

61). In simple terms, the mail return rate is the percentage of occupied households that return

competed Census questionnaires. Mail response rates are the percentages of Census

questionnaires that were returned from all households whether they were occupied or not.




1
  In the 2010 Census, there were a very small number of people who were able to respond on the internet, but the
internet option was not widely available
2
  The NRFU operational design in the 2020 Census will also use administrative records and third-party data to
enumerate occupied housing units. See U.S. Census Bureau, 2020 Census Detailed Operational Plan: 18.
Nonresponse Followup Operation (NRFU), April 2018 at 9, available at https://www2.census.gov/programs-
surveys/decennial/2020/program-management/planning-docs/NRFU-detailed-operational-plan.pdf.
3
 The Update/Leave operation is conducted in places without regular mail delivery. A census enumerator verifies a
housing unit at the address and leaves a paper questionnaire for the household to complete. The Update/Enumerate
operation is conducted in very remote areas.

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Where available, my analysis uses mail return rate to measure self-response rates. However, the

mail return rate was not available in the 1990 Census, so I use the mail response rate to reflect

the self-response rate in 1990. As stated earlier, in the 2020 Census, other self-response modes,

such as the internet and telephone, are available.

        16.      The mail return rates, and the mail response rates are calculated by the Census

Bureau and these rates have been used by data analysts at the Census Bureau. The mail return

rate was used by U.S. Census Bureau (2018d) to measure self-response in a study of the impact

of a citizenship question on the 2020 Census questionnaire. In another Census Bureau analysis

of the impact of a potential citizenship question on the 2020 Census, (2018b) Census Bureau

staff also used self-response for both the 2010 and 2000 Census for which mail was the only

self-response option, and for the American Community Survey (ACS) for which mail and

internet self-responses were options.

1.3     Net Undercounts and Omissions

        17.      Net undercount and omissions rates are both measures of Census accuracy, but

they capture different parts of Census accuracy (O’Hare 2019b).

        18.      The net undercount is a balance between people missed (omissions), those

included erroneously (meaning those double counted and those inappropriately included in the

census, like foreign tourists), and those imputed. 4 If the number of omissions is higher than the

number of erroneous inclusions and whole person imputations, there is a net undercount. If the

number of erroneous inclusions and whole person imputations is larger than the number of

omissions, there is a net overcount.


4
  Imputations are people added to the Census count based on some evidence they exist. For example, if a housing
unit looks occupied, but there is no self-response, and no one responds to an enumerator, the Census Bureau may
impute people into the Census count.


                                                       6
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       19.     In the 2010 Census there were 10,042,000 erroneous enumerations, 5,993,000

whole person imputations, and 15,999,000 omissions (U.S. Census Bureau 2012b, Table 3).

       20.     Omissions capture the number and share of a population that are missed in the

Census and are defined by the Census Bureau (2012b, page 12), “omissions are people who

should have been enumerated in the United States Census but were not.” In some ways

omissions are a better reflection than net undercount rates of who is missed in the Census. For

example, if 10 percent of Hispanics in a state are missed, while an equal number of Non-

Hispanic Whites are double counted, the net undercount would be zero, but that does not reflect

the fact that a large number of Hispanics were missed. The net undercount for a state can mask

important differences in the accuracy of the census data across geographic subunits (like cities

and counties) of the state.

       21.     It is important to understand the net undercount does not tell you how many

people were missed in the Census and it is worth noting that even when a net undercount for a

group is zero, there are often omissions. For example, the net undercount of Asians in the 2010

Census was essentially zero, but there was an omissions rate of over 5 percent for Asians in the

2010 Census. The net undercount for young children in the 2010 Census was 4.6 percent, but

the omissions rate was 10.3 percent (O’Hare 2019a).

     22.       Undercounts have sometimes been reported as a negative number by the Census

Bureau (Velkoff 2011; King et al. 2018; Jensen et al. 2018) and sometimes as a positive number

by the U.S. Census Bureau (2012b). In this report, net undercounts are reported as a positive

number and net overcounts as a negative number. Measuring net undercounts here as a positive

number makes the correlations and the figures easier to interpret.

1.1.4 Correlations



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      23.      Much of the analysis in this report relies on correlation coefficients to show

relationships between two variables such as self-response rates and net undercount rates. More

specifically, I use the Pearson Product-Moment Correlation Coefficient (Blalock 1972, page

376). This is probably the most widely used correlation calculation.

      24.      There are three dimensions of correlation coefficients: direction, magnitude, and

statistical significance. Direction is indicated by a positive or a negative sign. A positive

correlation indicates a higher value on one variable is associated with a higher value in the other

variable. The relationship between height and weight reflects a positive correlation, i.e., taller

people usually weigh more. A negative sign indicates that a higher value on one variable is

associated with a lower value in the other variable. For example, the relationship between

exercise and obesity reflects a negative correlation, i.e., people who exercise more are less likely

to be obese.

      25.      The magnitude of a correlation coefficient varies from 0 to 1. A magnitude of

zero means no relationship between the two variables and a value of 1 means a perfect

correlation between the two variables. The higher the magnitude or value of the correlation

coefficient the stronger the relationship between the two measures being examined. When you

put direction and magnitude together the value can range from a -1 to +1, and the closer the

correlation coefficient is to -1 or +1, the higher the correlation.

    26.        Statistical significance testing is done to assess how likely the observed results

are due to chance. Researchers use different levels of statistical significance depending on the

analysis. In this report, all the correlation coefficients deemed statistically significant are

significant at the 0.10 level or higher (higher level of significance). This is a commonly used

benchmark in social science research and the same level that the Census Bureau typically uses.



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The standard used by the Census Bureau in its publications (U.S. Census Bureau 2017b, page 2)

and on its website (U.S. Census Bureau 2018a, page 22) is 0.10, which means if something is

statistically significant the results would occur by chance alone less than one time out of ten.5

Another way of saying this is that with a 0.10 level of significance we can be ninety percent

confident the results reflect a real or true relationship between two measures. If the observed

results are statistically significant, they are unlikely to be due to chance, and it is highly likely

that a correlation coefficient that is statistically significant at the 0.10 level reflects a real

relationship, and these are not random results. Most of the correlations in this report are

statistically significant at a much higher level than 0.10

     27.         Since the key element of information needed for my analysis is to determine if a

correlation coefficient is negative and statistically significant, a one-tailed test of significance is

used. A one-tailed test implies we are only interested in seeing if the correlation is negative and

statistically different from zero. This contrasts to a two-tailed test which would tell us if the

correlation was statistically different from zero in either direction, that is positive or negative.

     28.         The statistical significance is largely determined by the size of the correlation and

the number of observations upon which the correlation is based. Higher magnitude and more

observations lead to a higher-level statistical significance.

1.2. Self-Response and Census Accuracy

     29.         In this section, I examine the relationship between self-response rates and Census

accuracy, as measured by net undercount and omissions rates. The 1990, 2000, and 2010 Census



5
  ACS “uses the Census Bureau’s standard 90% confidence level.” See American Community Survey Statistical
Testing Tool, available at https://www.census.gov/programs-surveys/acs/guidance/statistical-testing-
tool.html. “The Census Bureau uses 90 percent confidence intervals and 0.10 levels of significance to determine
statistical validity.” Sources and Accuracy Estimates for Income and Poverty in the United States: 2016 and Health
Insurance Coverage in the United States: 2016, available at
https://www2.census.gov/library/publications/2017/demo/p60-259sa.pdf.

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provide statistical data that can be used to examine this relationship from an empirical

perspective. Relationships are shown graphically as well as statistically, as it may be easier to

grasp a relationship from a visual presentation.

1.2.1 Examination of Data from the 2010 Census

      30.         Table 1.1 shows the self-response rates and net undercount rates for eight

demographic groups defined by race, Hispanic origin, and tenure (i.e., owner or renter). These

are the only demographic groups for which I could find all three measures (self-response, net

undercount, and omissions rates) in consistently classified groups.

      31.         The correlation coefficient between the self-response rate and the net undercount

rate for the eight groups shown in Table 1.1 is -0.78. This correlation is statistically significantly

different than zero at a 90 percent confidence level. This correlation means groups with lower

self-response rates have higher net undercount rates.

      32.         The data in Table 1.1 are very consistent. All the demographic groups that have

higher than average self-response rates have net overcounts and all groups with lower than

average self-response rates have net undercounts.6




6
 Asians essentially have self-response rates the same as the total population and essentially have a net undercount
rate of zero.

                                                         10
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Table 1.1 Self-Reponses Rates and Net Undercount Rates for Eight
Demographic Groups in the 2010 Census
                                              Self-Response         Net
                                                Rates (Mail      Undercount
                                              Return Rates* )     Rates**
Total                                               79.3           -0.01

White Alone***                                                82.5             -0.84
Black Alone                                                   70.0             2.07
American Indian and Alaskan Native Alone                      69.8             0.15
Asian Alone                                                   75.4             -0.08
Native Hawaiian or Pacific Islander Alone                     59.7             1.34
Hispanic                                                      69.7             1.54
Population in Owner-Occupied Housing Units           85.8          -0.57
Population in Renter- Occupied Housing Units         66.9          1.09
* Source; U.S. Census Bureau (2012) 2010 Census Mail Response/Return Rates
Assessment Report. 2010 Census Planning Memorandum Series, No. 198,
Tables 10 and 12 ( Race groups are Non-Hispanic)


** This is the net undercount as a percent of the population. Source: U.S. Census
Bureau (2012) 2010 Census Coverage Measurement Estimation Report:
Summary of Estimates of Coverage for Persons in the United States. , DSSD
2010 CENSUS COVERAGE MEASUREMENT MEMORANDUM SERIES #2010-
G-01 Tables 7 and 10 (Net Undercounts shown as a positive number)
*** for the Net Undercount Rates, this is Non-Hispanic White Alone

    33.       The relationship is shown graphically in Figure 1.1. Figure 1.1 shows that groups

with lower self-response rates have higher net undercount rates.




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    34.         The red dotted line shown in Figure 1.1 (and all other figures) is the trend line that

reflects the statistical relationship between the two measures shown in the Figure. The closer the

points are to the line, the higher the correlation.

    35.         Table 1.2 shows 2010 Census self-response rates and omissions rates for the same

eight demographic groups shown in Table 1.1. The correlation coefficient between the self-

response rates and the omissions rates for the eight groups in Table 1.2 is -0.86 and it is

statistically significantly different from zero at a 90 percent confidence level. The correlation

means groups with lower self-response rates have higher omissions rates.




                                                  12
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    Table 1.2 Self-Reponses Rates and Omission Rates for Demographic Groups in the 2010 Census
                                                                    Self-Response
                                                                     Rates (Mail
                                                                    Return Rates*     Omission
                                                                          )            rates**
    Total                                                                75.8            5.3

    White Alone***                                                                         82.5                  3.8
    Black Alone                                                                            70.0                  9.3
    American Indian and Alaskan Native Alone                                               69.8                  7.6
    Asian Alone                                                                            75.4                  5.3
    Native Hawaiian or Pacific Islander Alone                                              59.7                  7.9
    Hispanic                                                                               69.7                  7.7

    Population in Owner-Occupied Housing Units                                             85.8                  3.7

    Population in Renter- Occupied Housing Units                                           66.9                  8.5


    * Source; U.S. Census Bureau (2012) 2010 Census Mail Response/Return Rates Assessment Report.
    2010 Census Planning Memorandum Series, No. 198, Tables 10 and 12

    ** This is the number of people missed as a percent of the total population. Source: U.S. Census
    Bureau (2012) 2010 Components of Census Coverage for Race Groups and Hispanic Origin by Age,
    Sex and Tenure in the United States, DSSD 2010 CENSUS COVERAGE MEASUREMENT
    MEMORANDUM SERIES #2010-E-51, Tables A and B
    *** for the Omissions Rates, this is Non-Hispanic White Alone


       36.        All the groups that have a higher than average self-response rates have below

average omissions rates and all the groups with lower than average self-response rates have

higher than average omissions rates as shown in Table 1.2.7

       37.        The correlation can be seen graphically in Figure 1.2. This figure shows that

groups with lower self-response rates have higher omissions rates.




7
 Asians essentially have self-response rates that are the same as that total population and have an omissions rate
exactly equal to the total population.

                                                         13
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    38.          Table 1.3 shows the self-response rates and net undercount rates for states along

with the District of Columbia. Note that none of the net undercount rates in Table 1.3 are

statistically significantly different from zero (U.S. Census Bureau 2012c, Table 5). This

indicates that the net undercount from state to state was roughly equal in 2010.

    39.          Given the lack of measurable variation in the state-level net undercount rates in

the 2010 Census, correlation with self-response rates is expected to be low. Indeed, the

correlation between self-response rates and net undercount rates across the states is 0.06, which

is not statistically significantly different from zero. Given the low correlation between self-

response rates and net undercount rates for states, the data are not shown graphically so there is

no Figure 1.3.



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Table 1.3. 2010 Census Self-response Rates and Net Undercount Rates by State
                       Self Response       Net                                  Self Response
                        Rates (Mail    Undercount                              Rates (Mail Return Net Undercount
State                  Return Rate*)      Rate**           State                    Rate*)            Rate**
Alabama                     78.4           0.13            Montana                    80.4             -0.65
Alaska                      74.8          -0.85            Nebraska                   82.5             -0.54
Arizona                     77.6          -0.42            Nevada                     76.3             -0.04
Arkansas                    77.0          -0.41            New Hampshire              79.4               0.6
California                  76.9           0.26            New Jersey                 78.1             -0.36
Colorado                    79.1          -0.29            New Mexico                 73.8             -0.16
Connecticut                 79.1          -0.45            New York                   75.8             -0.79
Delaware                    80.0           0.55            North Carolina             80.7             0.52
District of Columbia        78.3           2.23            North Dakota               83.1             0.09
Florida                     80.2           0.45            Ohio                       80.8             -0.83
Georgia                     77.2           0.91            Oklahoma                   75.5             -1.08
Hawaii                      76.8          -0.44            Oregon                     79.8             0.02
Idaho                       82.6          -0.03            Pennsylvania               82.3             0.14
Illinois                    80.7          -0.48            Rhode Island               77.7             -0.81
Indiana                     82.2          -0.67            South Carolina             81.4             0.41
Iowa                        83.3          -0.28            South Dakota               82.7               0.1
Kansas                      81.2          -0.67            Tennessee                  80.3             0.12
Kentucky                    81.0          -0.13            Texas                      76.5             0.97
Louisiana                   74.5          -0.38            Utah                       80.4             -0.48
Maine                       81.1           0.65            Vermont                    79.7             1.29
Maryland                    80.3           0.94            Virginia                   80.8             0.57
Massachusetts               78.9          -0.52            Washington                 79.9              -0.1
Michigan                    83.7          -0.66            West Virginia              75.6             -1.43
Minnesota                   85.6          -0.56            Wisconsin                  85.1             -0.17
Mississippi                 76.4           0.24            Wyoming                    79.9             -0.51
Missouri                    81.1          -0.66            Total                      79.3             -0.01
* Source: U.S. Census Bureau, State Mail Return Rates 2010 Census downloaded on August 21 at
https://www2.census.gov/dssd/2010_census_public_rates/excel/
** Net undercount as a percent of the total population. Source: U.S. Census Bureau (2012)." 2010 Census Coverage
Measurement Estimation Report: Summary of Estimates of Coverage for Persons in the United States," DSSD 2010
Census Coverage Measurement Memorandum Series #2010-G-01. U.S. Census Bureau, Washington, DC. G-01 Table
14 (Net undercounts are shown as a positive number)



    40.          Table 1.4 shows self-response rates and omissions rates for states and the District

of Columbia in the 2010 Census. The correlation between self-response rates and omissions

rates is -0.63, and it is statistically significantly different from zero at a 90 percent confidence

level. States that have lower self-response rates have higher omissions rates.




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Table 1.4. 2010 Census Self-response Rates and Omissions Rates by State
                       Self Response                                               Self Response
                        Rates (Mail     Omissions                                 Rates (Mail Return    Omissions
State                  Return Rate*)      Rate**          State                        Rate*)            Rate**
Alabama                     78.4           7.7            Montana                        80.4              6.1
Alaska                      74.8           5.5            Nebraska                       82.5              3.1
Arizona                     77.6           7.3            Nevada                         76.3              6.9
Arkansas                    77.0           5.4            New Hampshire                  79.4              5.0
California                  76.9           5.1            New Jersey                     78.1              4.5
Colorado                    79.1           5.9            New Mexico                     73.8              7.7
Connecticut                 79.1           3.9            New York                       75.8              6.1
Delaware                    80.0           6.2            North Carolina                 80.7              7.6
District of Columbia        78.3           9.0            North Dakota                   83.1              3.9
Florida                     80.2           7.5            Ohio                           80.8              3.5
Georgia                     77.2           7.3            Oklahoma                       75.5              6.4
Hawaii                      76.8           7.8            Oregon                         79.8              4.0
Idaho                       82.6           5.8            Pennsylvania                   82.3              4.5
Illinois                    80.7           4.6            Rhode Island                   77.7              5.9
Indiana                     82.2           3.6            South Carolina                 81.4              5.2
Iowa                        83.3           2.6            South Dakota                   82.7              4.9
Kansas                      81.2           3.7            Tennessee                      80.3              5.8
Kentucky                    81.0           5.5            Texas                          76.5              6.9
Louisiana                   74.5           6.8            Utah                           80.4              4.9
Maine                       81.1           4.2            Vermont                        79.7              5.4
Maryland                    80.3           6.0            Virginia                       80.8              5.8
Massachusetts               78.9           5.7            Washington                     79.9              4.5
Michigan                    83.7           4.5            West Virginia                  75.6              7.7
Minnesota                   85.6           4.4            Wisconsin                      85.1              4.1
Mississippi                 76.4           8.9            Wyoming                        79.9              6.4
Missouri                    81.1           4.5            Total                          79.3              5.3
* Source: U.S. Census Bureau, State Mail Return Rates 2010 Census downloaded on August 21 at
https://www2.census.gov/dssd/2010_census_public_rates/excel/
** Number of people missed as a percent of total population. Source: U.S. Census Bureau (2012)." 2010 Census Coverage
Measurement Estimation Report: Summary of Estimates of Coverage for Persons in the United States," DSSD 2010
Census Coverage Measurement Memorandum Series #2010-G-01. U.S. Census Bureau, Washington, DC. G-01 Table 14
Net undercounts are shown as a positive number)



     41.         Figure 1.4 shows the relationship between self-response rates and omissions rates

for states in the 2010 Census graphically. Figure 1.4 shows that states with lower self-response

rates have higher omissions rates.




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                          Figure 1.4 Relationship Between Self-response Rates and
                               Omission Rates for States in the 2010 Census
                    10
                     9
                     8
  Omissions rates




                     7
                     6
                     5
                     4
                     3
                     2
                     1
                     0
                         72        74        76         78         80       82         84        86        88
                                                      Self-response rates


1.2.2 Examination of Data from the 2000 Census

           42.                Table 1.5 shows self-response rates and net undercount rates from the 2000

Census for eight demographic groups. Note that the racial groups are not defined exactly the

same in the two Census Bureau reports from which the data were taken but they are very similar.

This is a minor point and unlikely to impact the correlation.

           43.                The correlation coefficient between self-response rates and net undercount rates in

Table 1.5 is -0.97, which is extremely high and statistically significantly different from zero at a

90 percent confidence level. This means that demographic groups that have low self-response

rates have high net undercount rates.




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Table 1.5 Self-Response Rates and Net Undercount Rates in the 2000 Census for Eight Demographic
Groups
                                     Self
                                  Response
                                 Rates ( Mail                                   Net Undercount Rates
Groups                           Return Rate)*   Groups                          (A.C.E. Revision II)**
White Alone                          81.8        Non-Hispanic White                     -1.13
Black Alone                          64.3        Non-Hispanic Black                      1.84
Asian Alone                          74.6        non-Hispanic Asian                     -0.75
Pacific Islander Alone               59.4        Hawaiian or Pacific Islander            2.12
Hispanic                             69.2        Hispanic                                0.71
American Indian Alone                70.7        AIAN Off Reservations                   0.62
Owner-Occupied                       84.8        Homeowner                              -1.25
Renter-Occupied                      65.9        Renter                                  1.14

* Source: U.S. Census Bureau (2003) Census 2000 Mail Return Rates, Census 2000 Evaluation A.7.b,
Herbert Stackhouse and Sarah Brady, January 30, Tables 10 , 12 and 16

**Source: Net undercount as a percent of the total population.U.S. Census Bureau : DSSD A.C.E.
REVISION II MEMORANDUM SERIES #PP-54, Table 1. (Net undercounts are shown as positive numbers)


      44.                            The relationship between self-response rates and net undercount rates is shown

graphically in Figure 1.5. This figure shows that groups that have lower self-response rates have

higher net undercount rates.


                           Figure 1.5 Relationship Between Self-response
                             Rates and Net Undercount Rates for Eight
                           3 Demographic Groups in the 2000 Census
    Net undercount rates




                           2

                           1

                           0
                                50              60             70             80             90
                           -1

                           -2
                                                     Self-response rates

                                                                    18
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          45.         Table 1.6 shows the self-response rates and net undercount rates for states and the

    District of Columbia in the 2000 Census. State omissions rates were not available in 2000. The

    correlation between self-response rates and net undercount rates across the states is -0.66, which

    is statistically significantly different from zero at a 90 percent confidence level. States with low

    self-response rates have high net undercount rates.


                Table 1.6 Census 2000 Self-Response Rates and Undercount Rates for States
                         Self-Response    Net                                            Response Net Undercount
        State             Rates (Mail Undercount                         State           Rates (Mail   Rates
                         Return Rates)* Rates**                                           Return)
Alabama                       76.9             -0.34            Montana                     83.2       0.49
Alaska                        76.1             0.29             Nebraska                    84.6      -0.81
Arizona                       76.9             -0.32            Nevada                      75.0       0.50
Arkansas                      79.0             -0.09            New Hampshire               80.5      -1.15
California                    78.6             0.13             New Jersey                  78.7      -0.52
Colorado                      80.8             -0.01            New Mexico                  78.1       0.02
Connecticut                   80.2             -0.75            New York                    75.2      -0.25
Delaware                      78.0             -0.32            North Carolina              78.3      -0.15
District of                   72.1             1.54             North Dakota                85.4      -1.43
Columbia
Florida                       77.8             -0.64            Ohio                         82.1            -1.27
Georgia                       79.1             0.27             Oklahoma                     77.9            -0.20
Hawaii                        75.7             0.22             Oregon                       81.1            -0.35
Idaho                         83.5             -0.41            Pennsylvania                 82.4            -0.91
Illinois                      80.2             -1.42            Rhode Island                 76.9            -1.14
Indiana                       81.6             -1.66            South Carolina               76.5            -0.36
Iowa                          85.6             -1.44            South Dakota                 86.8            -1.28
Kansas                        81.8             -1.28            Tennessee                    77.1            -0.41
Kentucky                      79.9             -0.48            Texas                        75.3            0.05
Louisiana                     75.2             -0.09            Utah                         79.6            -0.10
Maine                         80.1             -1.20            Vermont                      81.1            -1.12
Maryland                      79.3             0.25             Virginia                     81.3            0.27
Massachusetts                 79.0             -1.00            Washington                   78.6            -0.21
Michigan                      83.7             -0.95            West Virginia                80.7            -0.73
Minnesota                     86.1             -1.70            Wisconsin                    87.3            -1.50
Mississippi                   78.3             -0.41            Wyoming                      83.6            -0.39
Missouri                      82.2             -1.35            United States                78.4            0.48
*Source: U.S. Census Bureau, State Mail Return Rates 2010 Census downloaded on August 21 at
https://www.2.census.gov/dssd/2010_census_public_rates/excel/
**Net undercount as a percent of the total population. Source: U.S. Census Bureau (2003) A.C.E. Revision II- Adjusted Data
for States, Counties, and Places, DSSD A.C.E. REVISION II MEMORANDUM SERIES #PP 60, Table 1 (Net Undercounts
Shown as a positive number)

                                                           19
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     46.       This relationship is shown graphically in Figure 1.6. This figure shows that states

that have lower self-response rates have higher net undercount rates.




1.2.3. Examination of Data from the 1990 Census

    47.        The only self-response rates available for states in the 1990 Census were mail

response rates. Mail response rates are slightly different than the mail return rates (as explained

in Section 1.1), but both are measures of self-response used by the Census Bureau.

    48.        Table 1.7 shows self-response rates and net undercount rates in the 1990 Census

for seven demographic groups. The correlation between the self-response rates and the net

undercount rates is -0.60, which is statistically significantly different from zero at a 90 percent

confidence level. The direction of the correlation indicates that groups with lower self-response

rates have higher net undercount rates.


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   Table 1.7 1990 Census Self Response Rates and Net Undercount Rates for Seven Demographic Groups

                                      Self Response
                                       Rates (Mail                                                  Net
                                        Reponses                                                 Undercount
                                         Rates)*                                                  Rate **
   Non-Hispanic White                      78.0             Non-Hispanic White                      0.7
   Black                                   56.6             Black                                   4.4
   American Indians, Eskimo and Aleut      63.1             American Indian, Eskimo and Aleut       12.2
   Asian and Pacific Islanders             66.1             Asians and Pacific Islander             2.4
   Hispanic Origin                         63.4             Hispanic Origin                         5.0
   Owners                                  82.3             Owners                                  0.1
   Renters                                 61.3             Renters                                 4.3
   *Source: Derived from Word, D.L., (1997) "Who Responds ? Who Doesn't?: Analyzing Variation in Mail
   Response Rates During the 1990 Census, Population Division Working Paper No . 19, Table 2.0
   **Net undercount as a percent of the total population. Source: Hogan, H. and Robinson G., (1993) What the
   Census Bureau's Coverage Evaluation Programs tell Us About Differential Undercounts ; Paper Delivered at
   the 1993 Research Conference on Undercounted Ethnic Populations, May 5-7, Richmond VA. , Table 3 (net
   undercounts shown as a positive number)

    49.        This relationship is shown graphically in Figure 1.7. This figure shows that

groups that have low self-response rates have higher net undercount rates.




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     50.         Table 1.8 shows 1990 Census self-response rates and net undercount rates for

states and the District of Columbia. Omissions rates were not available in 1990. The correlation

coefficient between self-response rates and net undercount rates, shown in Table 1.8, is -0.56,

which is statistically significantly different from zero at a 90 percent confidence level. This

means that states with lower self-response rates have higher net undercount rates.

Table 1.8 1990 Census Self-response Rates and Net Undercount Rates for States
                                                                                    Self
                        Self Response                                            Response
                         Rates (Mail       1990 Net                              Rates (Mail 1990 Net
                          Response        Undercount of                          Response Undercount of
state                      Rates)*         Persons**            state             Rates)*    Persons**
Alabama                      62.0             1.8               Montana             67.0        2.4
Alaska                       52.0             2.0               Nebraska            74.0        0.7
Arizona                      62.0             2.4               Nevada              61.0        2.3
Arkansas                     65.0             1.8               New Hampshire       63.0        0.8
California                   65.0             2.7               New Jersey          65.0        0.6
Colorado                     67.0             2.1               New Mexico          62.0        3.1
Connecticut                  66.0             0.6               New York            62.0        1.5
Delaware                     68.0             1.8               North Carolina      63.0        1.9
District of Columbia         56.0             3.4               North Dakota        72.0        0.7
Florida                      61.0             2.0               Ohio                75.0        0.7
Georgia                      63.0             2.2               Oklahoma            63.0        1.8
Hawaii                       62.0             1.9               Oregon              67.0        1.9
Idaho                        70.0             2.2               Pennsylvania        73.0        0.3
Illinois                     68.0             1.0               Rhode Island        62.0        0.1
Indiana                      72.0             0.5               South Carolina      58.0        2.0
Iowa                         76.0             0.4               South Dakota        74.0        1.0
Kansas                       72.0             0.7               Tennessee           65.0        1.8
Kentucky                     69.0             1.6               Texas               61.0        2.8
Louisiana                    58.0             2.2               Utah                67.0        1.7
Maine                        58.0             0.7               Vermont             64.0        1.1
Maryland                     70.0             2.1               Virginia            70.0        2.0
Massachusetts                64.0             0.5               Washington          67.0        1.8
Michigan                     72.0             0.7               West Virginia       65.0        1.4
Minnesota                    76.0             0.4               Wisconsin           77.0        0.6
Mississippi                  62.0             2.1               Wyoming             61.0        2.2
Missouri                     69.0             0.6               U.S. Total                      1.6
* Source: U.S. Census Bureau 1990 Census Page (/main/www.cen1990.html) 1990 Mail Response rates by 1990
Geography Boundaries.
**Net undercount as a percent of the total population. Source: U.S. Census Bureau
https://www.census.gov/dmd/www/pdf/understate.pdf ( Net undercount shown as a positive number)




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              51.                   Figure 1.8 shows the relationship between state 1990 mail response rates and net

undercount rates graphically. This figure shows that states that have lower self-response rates

have higher net undercount rates.



                                    Figure 1.8 Relationship Between Self-response Rates and
                                       Net Undercount Rates for States in the 1990 Census
                         4.0

                         3.5
  Net undercount rates




                         3.0

                         2.5

                         2.0

                         1.5

                         1.0

                         0.5

                         0.0
                               50            55           60             65          70           75            80
                                                            Self-response rates



1.2.4 Summary of Relationship between Self-response Rates and Census Accuracy.
              52.                   Table 1.9 summarizes the correlations between self-response rates and census

accuracy for the 1990, 2000 and 2010 Decennial Censuses. Of the eight correlations shown in

Table 1.9, all but one of the correlations were in the predicted direction and statistically

significant. Based on my 40 plus years of experience as a professional data analyst I would call

the correlations coefficients in Table 1.9 (except for 0.06) moderate to high by social science

standards.


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 Table 1.9 Summary of Statistical Relationships between Census Self-Response Rates and

 Census Accuracy (Net Undercount Rates and Omissions Rates)

 Correlation between Self-Response Rates and:                         Correlation Coefficient

 2010 Eight Demographic Groups Net Undercount                         -0.78

 2010 Eight Demographic Groups Omissions                              -0.86

 2010 States Net Undercount Rates                                     0.06

 2010 States Omissions Rates                                          -0.63

 2000 Eight Demographic Groups                                        -0.97

 2000 States Net Undercount Rates                                     -0.66

 1990 Seven Demographic Groups                                        -0.61

 1990 States Net Undercount Rates                                     -0.56

 Note correlations in BOLD are statistically significant at the .10 level or higher.




    53.        Using this analysis to predict the exact increase in net undercounts and omissions

based on self-response rates would depend on which correlation in Table 1.9 one relies on. But

exact predictions are unnecessary. The preponderance of evidence clearly shows there will be an

increase in net undercounts and omissions if there are lower self-response rates in the 2020

Census. The magnitude of the correlations varies from one Census to the next, but they are

consistent in showing a negative correlation between self-response rates and census accuracy,

which means states and groups with lower self-response rates have higher net undercounts and

omission rates.




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     54.       The empirical relationship between self-response rates and census accuracy (net

undercounts and omissions) has been recognized by the Census Bureau. The Census Bureau

Task Force on the Undercount of Young Children (U.S. Census Bureau 2014a, page ii)

concluded, “Research suggests that areas with lowest levels of cooperation have higher levels of

coverage and nonresponse error.” A Census Bureau Working Paper (Word 1997, page 1) notes

that “response rates and net undercount rates may be causally linked . . ..”

     55.       The connection between self-response rates and census accuracy is underscored

by the Census Bureau’s decision to use a self-response related measure to identify Hard-to-Count

areas in the 2020 Census. The Low-Response Score developed by Erdman and Bates (2017) is

based on the mail return rates in the 2010 Census. In describing the Low-Response Score the

Census Bureau (2014b, page 4) states, “This score identifies Block Groups and Tracts whose

characteristics predict low Census Mail Return Rate and are highly correlated (negatively) with

Census and survey participation.” The implicit association here is that areas where self-response

rates are low are more difficult to enumerate. Several characteristics of the kinds of populations

and places where it is difficult to get an accurate enumeration are provided by O’Hare (2019a,

page 46). This is not a complete list, but some of the characteristics include racial and ethnic

minority populations, communities where there are high levels of poverty and unemployment,

high levels of renter households and multi-unit structures, and large numbers of undocumented

or recent immigrants.

     56.       It is easy to understand why the relationship between low self-response rates and

lower census accuracy exists. Households that do not self-respond end up in the non-response

followup (NFRU) universe where the Census Bureau must send out an enumerator to get

information from a nonresponding household. Data collected in the NRFU phase of the Census



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is more likely to omit a person than data gathered in the self-response phase. In the 2010

Census, 88 percent of the NRFU responses were correct, compared to 97 percent of self-

responses (author’s calculation from U.S. Census Bureau 2012b, Table 14).

      57.      In addition, NRFU responses may have to rely on a proxy response. A proxy

response is when the information for a housing unit is provided by someone not living in that

housing unit, such as a neighbor or landlord. A U.S. Census Bureau paper (2018d, page 42)

shows that the responses from the self-response portion of the Census are much more accurate

than responses from the NRFU proxy response portion (U.S. Census Bureau 2018d, Table 12).

This data showed that 97.3 percent of the responses from the Mailout/Mail back portion of the

Census were correct, as compared to just 70.2 percent of those from the NRFU proxy responses.

Some of the NRFU proxy response errors are people who are not counted in the Census when

they should have been counted.

      58.      Social scientists typically look for four elements to show causation. First, that the

causal agent (referred to as the independent variable by scientists) occurs prior in time to the

thing that it is causing (referred to as the dependent variable by scientists); second, that there is

an association or correlation between the causal agent and the thing being caused; third, that

intervening mechanisms linking the independent variable and the dependent variable can be

clearly specified; and finally that other potential explanations have been controlled.

    59.        My analysis satisfies three out of four of these elements. Self-response occurs

prior in time to net undercounting, the self-response rate is moderately to highly correlated with

net undercounting, and the intervening mechanism is the fact that groups with lower self-

response rates have a higher share of their population counted in the NRFU operation which

generates less accurate data, including higher rates of net undercounts and omissions. The only


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element my analysis does not address is the need to control for all other potential explanations.

The inability to control for all other potential explanations is common in social science research

because there are legal and ethical restrictions on how much people can be manipulated for

research purposes. The way to control for all other possible explanations is through a

randomized control trial (“RCT”). However, the Census Bureau, which is best positioned to

conduct an RCT, has not conducted any such RCT measuring the relationship between self-

response and undercounting. My analysis evaluates the relationship between self-response rates

and census accuracy with best available data, and shows there is a strong robust relationship

between self-response and Census accuracy; namely groups that have lower self-response rates

have higher net undercount and omissions rates.

       60.     The magnitude of the correlations varies from one Census to the next, but they

are consistent in showing a negative correlation between self-response rates and census

accuracy, which means states and groups with lower self-response rates have higher net

undercounts and omission rates.

       61.     The consistency of the correlation (7 out of 8 observations) across multiple

Censuses, demographic groups, and states is illustrative of a consistent relationship over time.

The analysis demonstrates a clear pattern in the relationship between self-response and

undercount rates. While there is some uncertainty in these data (as with all data), uncertainty

typically reduces the likelihood of finding a correlation. But here, my analysis demonstrates a

correlation despite measurement uncertainty, providing further proof that the relationship is real.

       62.     The empirical relationship between self-participation rates and census accuracy

has been recognized by the Courts. See New York v. Dep’t of Commerce, 351 F.Supp.3d 502,

591 (S.D.N.Y. 2019) (“The Court concludes just that: Dr. O’Hare’s testimony provides


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affirmative evidence that self-response declines among specific subpopulations directly cause net

undercounts of those subpopulations. For the purposes of this litigation, a preponderance of the

evidence supports that conclusion.”); see also Kravitz v. Dep’t of Commerce, 366 F.Supp.3d 681,

717 (D.Md. 2019) (“Thus, the Court is comfortable finding that Plaintiffs have demonstrated a

causal relationship between decreased Census participation and an increased likelihood of net

undercounting by a preponderance of the evidence.”).

       63.     It is my conclusion, that over the past several U.S. Censuses the empirical

evidence shows groups with lower self-response rates have higher net undercounts and omission

rates. This relationship is important in understanding the significance of self-response rates in

the 2020 Census. Furthermore, groups with lower self-response rates in the 2020 Census would

benefit disproportionately if the end of the data collection period was October 31, 2020 instead

of September 30, 2020, as the Census Bureau had planned a couple of months ago. Conversely,

truncation of the data collection period in the 2020 Census will result in greater omissions and

net undercounts in groups with lower self-response rates.


2) Self-Reporting Rates in the 2020 Census Indicate Same Patterns as the Past
       64.     In the following sections, I focus on differences between the largest racial and

ethnic minority groups (Hispanics, Blacks, and Asians) in comparison to Whites and Non-

Hispanic Whites. These are the groups for which the data are most reliable. States also show

wide variations in self-response rates based on currently available data, explained below.

       65.     The primary measures of 2020 census accuracy (net undercounts and omissions)

will not be available until 2021. One metric of census quality that is available now is self-

response rates (O’Hare et al. 2020). Self-response rates reflect the extent to which households

complete and return the Census questionnaires before they are visited by a census enumerator in


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the NRFU operation. In the 2010 Census, when mailing back a completed census questionnaire

was the only option for self-response, these were called mail return rates. In the 2020 Census,

the self-response could be online, by phone, or by mail.

         66.       The predictive value of self-response rates was shown in the previous section

where empirical evidence linked variations in self-response rates for groups with variations in

census accuracy for those groups; namely groups with low self-response rates have higher net

undercount and omissions rates.

         67.       Other demographers have also noted the importance of self-response rates. In the

context of the U. S. Census, Swanson (2019, page 6) indicates self-response rates are a key

indicator of census success. New York City Demographer Joe Salvo (2020, page 1) also links

self-response rates to Census accuracy when he states, “If an area has a low self-response rate, it

means:

               •   More census enumerators will need to knock on doors to count residents in

                   persons: and,

               •   It is more likely people in the area may be missed or counted inaccurately.”

         68.       In the 2010 Census, the Census Bureau stopped soliciting self-responses when it

started the Nonresponse Followup (NRFU) operation in early May. For the 2020 Census, the

Census Bureau is continuing to allow people to self-respond during the NRFU period. However,

most of the 2020 Census self-response data shown here is from the 2020 Census data collection

period prior to the start of the NRFU operation in early August.

      69.          Since March 20, 2020, the Census Bureau has been producing 2020 Census self-

response rates for many geographic areas including census tracts (U.S. Census Bureau 2020a).

A census tract is defined by the Census Bureau (2020b) as “small, relatively permanent statistical


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subdivisions of a county,” each with a unique numeric code, and an average of about 4,000

inhabitants, but between a minimum population of 1,200 and maximum population of 8,000. In

the 2020 Census there are about 84,000 census tracts in the country.

       70.        At this point in the 2020 Census cycle there are no publicly available data on self-

response rates by the race or Hispanic Origin of the householder but response rates have been

developed related to the race and Hispanic composition of census tracts. The staff at Center for

Urban Research at the Graduate Center, City University of New York (CUNY) have downloaded

and analyzed response rates provided by the Census Bureau and combined them with other

information from the Census Bureau about the racial and Hispanic composition of the census

tract. Through regular briefings they have made analysis of that information available to the

public (Census Funders Initiative 2020).

       71.        Staff at the Center for Urban Research at the Graduate Center, City University of

New York determined the plurality of the population in each census tract by race and Hispanic

Origin. 8 The plurality of the population in a census tract is the largest race or Hispanic Origin

population in the census tract. 9

      72.         The racial compositions of populations in the tracts are based on the U.S. Census

Bureau’s 2014-2018 American Community Survey (ACS). Since the ACS data are produced

from a sample of the population, they include sampling error. ACS sampling error for individual

tracts indicate large potential errors for these estimates, but when tracts are used collectively, like

they are here, sample error is minimal. This is the best data we currently have for calculating the

racial/Hispanic composition of the Census tracts in the 2020 Census.


8
 A small number of census tracts, where were less than 100 people, were not included.
9
 If one used only tracts where a single race or Hispanic Origin group were the majority rather than the plurality, it
would greatly limit the number of tracts available for analysis. By using the plurality, nearly every census tract in
the country is included in the analysis.

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     73.       Race and Hispanic Origin are measured in the U.S. Census as dictated by U.S.

Office of Management and Budget (1997). Race and Hispanic Origin are two separate concepts

in the definitions used by the federal government. In the Census, respondents are first asked if

they are Hispanic or not, then they are asked about what race group(s) they identify with.

Starting in 1997, people have been allowed to mark as many race groups as they feel apply. For

people who mark only one race, this is referred to as “race alone,” for example Black Alone or

Asian Alone. For people who mark more than one race they fall into categories labeled “Alone

or in Combination” for example, “Black Alone or in Combination.” In this construction, people

can be in more than one group. Someone who marked both Black and White would be included

in both Black alone or in combination and the White alone or in combination. Slightly different

racial definitions are used in different tables in this report based on what was made available by

the Census Bureau. For example, sometimes the Census Bureau reports data for Non-Hispanic

White population and sometimes for the White population.

     74.       In general, these differences are not particularly important in terms of

understanding the results of my analysis, but there are couple of clarifications I want to offer.

The way the Census Bureau classifies people by race and Hispanic Origin has two key

implications for the data reported in the next three sections. Sometimes data were available for

all the people who selected the “White” race and sometimes the data was available for Non-

Hispanic Whites. Since some Hispanics select the White race, data for all Whites includes some

Hispanics. Using data for Non-Hispanic Whites in comparison to minorities is preferable to

using data for Whites, but sometimes that was not possible. The distinction between race alone

and race alone or in combination is of little significance for the racial groups analyzed here

(White, Asian, and Black).



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         75.     Analysis of 2020 Census self-response rates through August 2020 indicates that

many of the self-participation patterns from past Censuses are being seen again in the 2020

Census. This suggests that differential census accuracy in the 2020 Census is likely to follow

patterns seen in the past censuses and that groups with low self-response rates are likely to

experience greater rates of omissions and undercount.

         76.     Data shown in Table 2.1 indicate the mean self-response rates for Black and

Hispanics plurality census tracts are substantially lower than the mean self-response rate for

tracts where Non-Hispanic Whites are the largest population of the tract. 10 The self-response

rates for Non-Hispanic White plurality tracts (66.6 percent) is 9.7 percentage points higher than

that for Hispanic plurality tracts (56.9 percent), and 13 percentage points higher than Black

plurality tracts (53.6 percent). The mean response rate for tracts where Asians are the plurality

of the population (67.6 percent) is one percentage point higher than that of tracts where Non-

Hispanic Whites are the plurality of the population.

         77.     Since lower self-response rates are related to higher net undercounts and

omissions, as shown in Section 1 of this report, the lower self-response rates in the 2020 Census

for Hispanics and Blacks shown in Table 2.1 indicate those groups are on course to have higher

net undercount and omissions rates in the 2020 Census. If efforts to improve the accuracy of the

2020 Census are reduced by early termination of the data collection period, it is likely to have a

disproportionately negative impact on Hispanics and Blacks who have lower self-participation

rates.




 Table 2.1 shows data released by the Center for Urban Research at the Graduate Center, City University of New
10

York based on self-response rates through August 20, 2020.

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Table 2.1. Mean 2020 Census Tract-Level Self-Response Rates by the Plurality of
the Population by Race and Hispanic Origin
                                                         Mean Self-Response Rates
                                                        for Census Tracts by Plurality
                                                          of Population by Race and
                                                           Hispanic Origin (through
Pluraility of the Population in the Tract*                    August 20, 2020)
Non-Hispanic White                                                   66.6
Hispanic                                                             56.9
Non-Hispanic Black                                                   53.6
Non-Hispanic Asian                                                   67.6
Source: Obtained from Steve Romalewski, CUNY
* tract where this population was there largest race or Hispanic Origin group.


       78.     Note that the response data shown in Table 2.1 are for census tracts rather than

individual households. Nonetheless, it is reasonable to assume an association between the

largest population in a census tract and self-response rates in those tracts. In addition, the pattern

seen in 2020 is like that seen in previous censuses.

       79.     While Table 2.1 shows that Asian plurality census tracts have a slightly higher

self-response rates than Non-Hispanic White plurality tracts, it is important to recognize that the

Asian population is highly diverse and response rates for the overall Asian population are likely

to mask big differences among subgroups (U.S. Census Bureau 2012e). One recent report on the

Asian population (Lopez, et al. 2017) states, “The U.S. Asian population is diverse. A record 20

million Asian Americans trace their roots to more than 20 countries in East and Southeast Asia

and the Indian subcontinent, each with unique histories, cultures, languages and other

characteristics.” Some of these differences among Asian subgroups have implications for how

the groups interact with census-taking operations (O’Hare 2017 & 2020c: Population Bureau

References). Data for the overall Asian population masks important differences for subgroups.

For example, poverty is one variable associated with census undercounts and O’Hare (2020c)


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shows the young child (age 0 to 9) poverty rates among Asian subgroups vary from a low of 5

percent for Asian Indians to 30 percent in the Hmong population. Consequently, the data for

Asians shown in Table 2.1 may not reflect the experiences of many Asian subgroups.

    80.        One example of this is revealed by noting that Asian plurality tracts in the largest

cities of metropolitan areas (over 1 million) have a mean self-response rate (58.8 percent) well

below the national response rate (64 percent) and the mean self-response rates for Asian plurality

tracts in rural areas (56.9 percent) is well below the national average. On the other hand, Asian

plurality tracts in medium-sized cities in metropolitan areas have a mean response rate (71.1

percent) well above the national average. If efforts to improve the accuracy of the 2020 Census

are reduced by early termination of the data collection period, it is likely to have a

disproportionately negative impact on Asian Americans in the largest cities of metropolitan areas

and in rural areas, who have lower self-participation rates. This data is from Center for Urban

Research at the Graduate Center, City University of New York.

       81.     Figure 2.1 shows data from a Census Bureau report (U.S. Census Bureau 2019)

indicating the level of concern about the 2020 Census expressed by race and Hispanic Origin

groups. Asians, Hispanics, and Blacks express much more concern about the 2020 Census than

do Non-Hispanic Whites. These concerns help explain the relatively low self-response rates for




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Hispanic and Blacks seen in Table 2.1.




    82.       The U.S. Census Bureau (2019) Census Barriers and Motivator Survey (CBAMS)

survey found 53 percent of respondents thought census data was used “[t]o locate people living

in the country without documentation.” And 63 percent thought the Census was used “to help


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police and FBI keep track of people who break the law.” Moreover, 28 percent of the CBAMS

respondents thought the Census Bureau would not keep answers confidential and 24 percent

thought the Census Bureau would share answers with other government agencies. People with

this level of distrust in the Census were unlikely to self-respond and resist responding to an

enumerator in the NRFU process.

         83.      With respect to the 2020 Census it is important to note that the foreign-born

population and people living in households with foreign-born people are particularly vulnerable

to being missed. It is also noteworthy that 34 percent of the people born outside the U.S. are

extremely or very concerned that the data they provide in the 2020 Census will be used against

them compared to 20 percent of people born in the U.S. (U.S. Census Bureau 2019).

         84.      Census tracts where the foreign-born population are a disproportionately large

share of the total population have lower self-response rates. Data from the Center for Urban

Research at the Graduate Center, City University of New York (CUNY) indicates that census

tracts where the foreign-born population is more than one-third of the total population had a

mean response rate of 59.4 percent on August 20, 2020, compared to a national response rates of

64 percent. 11

         85.      Table 2.2 shows the distribution of the foreign-born population by race and

Hispanic Origin. The data in Table 2.2 show that Asians and Hispanics make up the majority

(71.4 percent) of the foreign-born population. So, difficulties in getting a complete and accurate




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  The one-third cutoff point for tracts in this analysis was used because it was high enough to make sure the foreign-
born was a clearly significant portion of the census tract population but low enough to make sure there were enough
tracts meeting the criterion to provide a reliable estimate. Tracts where the foreign-born population was 50 percent
or more of the population had even lower mean self-response rates

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count of the foreign-born population will affect Hispanics and Asians more than others.

Table 2.2. Foreign-Born Population in the U.S. by Race and Hispanic Origin: 2018
                                          Percent of the Foreign-Born Population
                                                          in 2018
Non-Hispanic White*                                         17.7
Black*                                                       9.5
Asian*                                                      27.1
Hispanic                                                    44.3
Source: U.S. Census Bureau, 2018 American Community Survey Table S0501,
retrieved from Data.census.gov on August 4 2020
* Race Alone, Hispanic may be included in appropriate race categories
Total number of foreign-born people                   44,728,721

       86.     The difficulties in getting complete and accurate count of people in immigrant

communities is partly due to a fear of interacting with the federal government. The climate of

fear among immigrants has greatly escalated since 2010. Even before there were discussions

about adding a citizenship question to the 2020 Census, Census Bureau researchers (Meyer and

Goerman 2018; U.S. Census Bureau 2017c and 2017d) found respondents less willing to

cooperate given the growing climate of fear and mistrust. After careful review, Meyers and

Goerman (2018 Slide 24) conclude, “During multilingual pretesting studies conducted in 2017

and 2018, respondents expressed concerns about participating in the Census Bureau surveys

because of fears about their confidentiality.”

       87.     Based on a series of interactions with interviewees and reports from Census

Bureau field staff, the Census Bureau (2017c, page 7) concluded, “Overall, these findings, in

various languages from respondents, Field Representatives, and Field Supervisors across the

country who have participated in recent projects are raising concerns with CSM regarding

potential barriers to respondents participation in the 2020 Census, as well as other Census

Bureau surveys.”


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       88.     In a series of focus groups among Latino adults regarding the 2020 Census

conducted by National Association of Latino Elected Officials (2018, slide 4), the study, which

included a potential citizenship question, concluded, “Hesitation, fear and cynicism arose among

focus group participants when they saw a version of the questionnaire.” Data from a recent

National Association of Latino Elected Officials survey (2020) indicate nearly half of all

Hispanics thought the citizenship question was still on the 2020 Census questionnaire.

       89.     In addition to low self-response rates, the difficulty in getting a complete and

accurate count of Hispanics and Blacks in the 2020 Census is also reflected in the population

composition of census tracts with the lowest self-response rates. Table 2.3 shows the

composition of the 20 percent of census tracts with the lowest self-response rates as of August 6,

2020. Hispanics and Blacks are over-represented in these hard-to-count tracts meaning it will be

a particularly difficult task to get a complete count of these groups compared to Non-Hispanic

Whites.

 Table 2.3. Racial and Hispanic Origin Composition of the 20 Percent of
 Census Tracts with the Lowest Response Rates Compared to U.S. Population
                                Race and Hispanic Origin
                                 in the 20% of the Tracts
                                    with the lowest self-       Race and
                                   response rates as of    Hispanic Origin in
                                          August 6           U.S. Population
 Non-Hispanic Whites                        44.1                  60.2
 Hispanics                                  25.8                  18.3
 Non-Hispanic Asians                         3.5                   6.0
 Non-Hispanic Black                         22.2                  12.3
 Source: Funders Census Initiative 2020, (August 6 presentation)




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       90.     Figure 2.2 shows the 2020 Census tract-level self-response rates and the 2010

mail return rates by race and Hispanic Origin. Self-response rates and mail return rates are both

measures of census participation. Data for 2010 reflect the race of the householder while data

for 2020 reflect the plurality of the population in a census tract.

       91.     Data in Figure 2.2 show that the pattern of participation in the 2020 Census is

similar to that in the 2010 Census with respect to race and Hispanic Origin status. In both the

2010 and 2020 Census, the participation rate for Whites is the highest while the rates for

Hispanics and Blacks are lower in both years. This underscores the extent to which patterns and

relationships seen in past censuses are being repeated thus far in the 2020 Census. It is

reasonable to believe the differential response rates seen so far in the 2020 Census are likely to

lead to higher net undercounts and omissions for groups with low self-response rates like they

have in past censuses. Furthermore, it is reasonable to believe that early truncation of census

data collection in the 2020 Census means there will be less time to gather more census responses

and the households that are missed, are likely to be disproportionately Hispanic and Black.




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             Figure 2.2. Self-Response Rates in the 2020 Census and
                  the 2010 Census by Race and Hispanic Origin



                       82.5
                                                                                        75.4
                                            69.7                  70.0
                66.6                                                             67.6

                                     56.9
                                                           53.6




                 White*              Hispanic                 Black                Asian
 * All Whites in 2010 and but only Non-Hispanic Whites in 2020
                                                                      2020 Tract-level Rates
    Source: Table 2.1 and U.S. Census Bureau 2012d                    2010 Mail Return Rates



       92.     The data in Tables 2.1, 2.2, and 2.3 focus on demographic groups, but there are

also large variations in the self-response rates by geography. Self-response rate variations by

state and counties are addressed below.

       93.     There is a lot of variation in self-response rates across the states. Data released by

the Census Bureau (2020e) on August 27, 2020, show 12 states (Alaska, Arkansas, Louisiana,

Maine, Mississippi, Montana, New Mexico, Oklahoma, South Carolina, Vermont, West Virginia,

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and Wyoming) have self-response rates below 60 percent. On the other hand, there are 4 states

(Minnesota, Nebraska, Washington, and Wisconsin) with self-response rates at 70 percent or

above. Some of the variation across states is related to the share of their population that is meant

to be captured in Update/leave operation rather than the self-response operation. The

Update/Leave operation was delayed because of the COVID-19 pandemic.

       94.     Given the connection between self-response rates and census accuracy based on

data from the 1990, 2000 and 2010 Censuses (shown in Section 1) the states with lower self-

response rates in 2020 are likely to have higher net undercount and omissions rates. The

remaining part of the 2020 Census data collection process is particularly important for states with

low self-response rates.

       95.     For example, Texas is one of the states where self-response rates in the 2020

Census are well below the national average. U.S. Census Bureau (2020e) data from August 27,

2020, shows the self-response rate for Texas is 60 percent compared to 64.6 percent for the

nation as a whole. An undercount because of low self-response rates could cost Texas a

congressional seat in the re-apportionment process and their fair share of federal funding.

       96.     New York is another state with below-average self-response rates in the 2020

Census. The 2020 Census self-response rate on August 27, 2020, was 60.7 percent for New

York. A high net undercount in the 2020 Census due to low self-response rates in New York

could impact the Congressional seats they get in 2020 Census reapportionment, as well as their

share of federal funding.

       97.     It is worth noting that a lower self-response rate and a higher undercount rate in a

large state like Texas or New York, will result in a larger number of people missed in the Census




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than the same self-response and undercount rates in a small state. In other words, a high net

undercount rate in a large state harms more people than the same rate in a small state.

       98.     In early August, the Census Bureau started the NRFU operation nationwide. But

that has not erased differences across the states. Of the fifty states, 12 have enumerated

(including self-response and NFRU) less than 75 percent of the population as of August 27,

2020. If the end of the data collection period remains September 30, 2020, this means they must

still enumerate more than 25 percent of the households in their state with slightly more than one

month remaining. These states captured less than 75 percent of their population in the first 24

weeks of the 2020 Census data collection period but must capture more than 25 percent in about

five weeks.

       99.     It is important to recognize that substate areas vary even more than states in self-

response rates. Data retrieved from the Census Bureau (2020e) on August 21, 2020, shows there

are 25 counties where the self-response rate is 80 percent or more and 12 counties where the self-

response rates is under 20 percent. The connection between self-response rates and census

accuracy discussed in Section 1 of this report indicates that variation in self-response rates

among geographic areas makes it more likely that some areas will have net undercounts and

omissions in the 2020 Census. States rely on census data to draw state legislative districts and

census undercounts result in seats shifting away from regions in which people are undercounted.

Communities that suffer high net undercounts due to low self-response rates are unlikely to get

their fair share of political power in the redistricting process which takes place after every

census, and their fair share of federal funding.

       100.    It is my conclusion that as of August 24, 2020, Census tracts where Hispanics and

Blacks are the plurality of the population have lower self-response rates in the 2020 Census than



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tracts where Non-Hispanic Whites are the plurality of the population. This indicates Hispanics

and Blacks are on a trajectory to have higher net undercounts and omissions rates in the 2020

Census. Ending the 2020 Census data collection period on September 30, 2020, instead of

October 31, 2020, means there will be less time available to address data collection

improvements for the demographic groups, such as Hispanics and Blacks, with the lowest self-

response rates, and will result greater in omissions and undercounts for these demographic

groups. If states and groups with low self-response rates had more time for data collection, there

would be more time to recover from the racial and Hispanic and state differentials in data

collection that we see so far in the data collection process.

3) Reduction in Differentials in 2010 Census and 2020 Census Self-Response Over the Census
Data Collection Period
       101.    Data from the 2010 Census show Hispanic, Asians, and Blacks were a larger

share of the population responding later in the data collection period than those responding in the

earlier portion of the data collection period. Consequently, changes to the end of the data

collection period impact Hispanics, Asians, and Blacks more than Non-Hispanic Whites.

       102.    A U.S. Census Bureau (2012d) report provides mail return rates for a date around

the middle of the 2010 Census self-response period (April 19, 2010) and at the end of the self-

response period (September 7, 2010) by race and Hispanic Origin status. The April 19, 2010

date was used by the Census Bureau because that is when the Census Bureau determined which

housing units they would follow up with a visit from a census enumerator. They call this the

NRFU universe. The September 7, 2010 date reflects all self-responses in the 2010 Census.

       103.    The indicator of census participation used in Table 3.1 is the mail return rate.

According to the Census Bureau (2012d, page vi) “Mail Return Rates reflect the percentage of




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occupied housing unit that returned their questionnaire in time to avoid enumeration in

Nonresponse Followup.”

       104.    Data in Table 3.1 show that between April 19, 2010 and the end of the data

collection on September 7, 2010 the mail return rates for Whites increased by 3.2 percent points

compared to 4.6 percent for the Black population, 4.5 percentage points for the Hispanic

population, and 4.4 percent for the Asian population. In other words, Blacks, Hispanics, and

Asians were responding at a higher rate than Whites during the latter part of the data collection

period (April 19, 2010 to September 7, 2010). Hispanics, Asians, and Blacks were a

disproportionately high share of those responding between April 19, 2010 and the end of data

collection period than they were between the start of data collection and April 19, 2010. Given

the higher response rates of Hispanics, Asians, and Blacks near the end of the data collection

process, changes in the collection process near the end of the data collection process are more

likely to impact those groups.


Table 3.1 Percentage Point Difference Between the Middle and the End of Self-Response Phase of
the 2010 Census by Race and Hispanic Origin

                                 Mail Return Rates*
                                                                       Percentage Point Changes
                                                                     from April 19 to September 7
                  as of April 19, 2010 as of September 7, 2010                   2010
White* Alone             79.3                    82.5                             3.2
Black Alone              65.4                    70.0                             4.6
Asian Alone              71.0                    75.4                             4.4
Hispanic                 65.2                    69.7                             4.5
* Source;: U.S. Census Bureau (2012). "2010 Census Mail Response Rate/Return Rates Assessment
Report," 2010 CENSUS PLANNING MEMORANDUM SERIES, No. 198, U.S. Census Bureau,
Washington DC.
* Data for Non-Hispanic Whites not available


       105.    There is another way of looking at this data that leads to the same conclusion.

Table 3.2 shows the percentage point gap between the mail return rates of Whites and minorities

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(Hispanic, Asians and Blacks) around the middle of the 2010 Census data collection period

(April 19, 2010) and at the end of that period (September 7, 2010). For Hispanics, Asians and

Blacks, the gaps between their self-response rates and those of Whites are smaller at the end of

the data collection period than it was at the middle of the data collection period. This suggests

that the longer the data collection period lasts, the smaller the gap between self-response rates of

minorities and Whites.


        Table 3.2 Percentage Point Difference Between Middle and End of Self-Response Phase of the
        2010 Census by Race* and Hispanic Origin of the Householder

                                                                     Percentage Point Difference Between
                                                                     White and Minorities April 19, and
                                   Mail Return Rates                 September 7, 2010 (Minority-White )
                           as of April 19, as of September 7,        as of April 19, as of September 7,
                               2020               2020                   2020                2020
        White Alone*            79.3              82.5
        Black Alone             65.4              70.0                    -13.9              -12.5
        Asian Alone             71.0              75.4                     -8.3               -7.1
        Hispanic                65.2              69.7                    -14.1              -12.8
        Source: U.S. Census Bureau (2012). " 2010 Census Mail Response Rate/Return Rates
        Assessment Report," 2010 CENSUS PLANNING MEMORANDUM SERIES, No. 198, U.S.
        Census Bureau, Washington DC.
        * Data for Non-Hispanic White not available


       106.    The Census Bureau data for 2010 Census mail return rates are not available for

Non-Hispanic Whites, only for Whites. This is important because some Hispanics are counted in

the White race category but are not included in the Non-Hispanic White category. Since

Hispanics have lower self-response rates than Whites, including some Hispanics in the White

category depresses the White rate and leads to false comparison between minorities and the

majority population. Since the data for “Whites” include data for some Hispanics these figures

do not reflect the real difference between minorities and Non-Hispanic Whites. The difference




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between Whites and minorities shown in Table 3.1 and 3.2 would undoubtedly be larger if we

had data for Non-Hispanic Whites.

       107.    Data from the 2020 Census show a similar pattern to the 2010 Census with

respect to a larger share of the population responding later in the data collection period being

Hispanic, Asian, and Black. Table 3.3 shows the mean response rates on April 30, 2020, and

August 20, 2020, for tracts by the race and Hispanic Origin plurality of the population in the

tract. From April 30, 2020, to August 20, 2020, the percentage point increase in the mean

response rates for Hispanic plurality tracts, Asian plurality tracts, and Black plurality tracts was

larger than for Non-Hispanic White plurality tracts. The increase was 7.4 percentage points for

tracts where Non-Hispanic Whites were the plurality of the tract, compared to 9.6 percentage

points for Hispanic plurality tracts, 10.3 percentage points for Asian plurality tracts, and 8.3

percent for Black plurality tracts.

Table 3.3. 2020 Census Self-Response Rates by Race and Hispanic Origin Plurality of Tracts
by Date
                                                                                Percentage Point
                                                                                Change May 1,
                                                                                2020 to August 20,
                                               Self-Response Rates              2020
                                        as of April 30,  as of August 20,
                                            2020               2020
Plurality of Population In Tract
Non-Hispanic White*                      59.2                66.6                7.4
Hispanic                                 47.3                56.9                9.6
Non-Hispanic Asian*                      57.3                67.6               10.3
Non-Hispanic Black*                      45.3                53.6                8.3
Source: Data from April 30, 2020 Funders Census Initiative 2020 and data for August 20,
2020 obtained from Steve Romalewski at CUNY
*Race Alone or in Combination


       108.    Table 3.4 shows differences between Whites and minorities (Hispanic, Asians and

Blacks) in terms of 2010 Census mail return rates, net undercount rates, and omission rates. The

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intervening census operation that occurs after mail return rates and the calculation of census

accuracy measures (net undercount and omission) is the NRFU operation. The fact that the

differences between Whites and minorities are smaller for net undercounts and omission than for

mail return rates, means minorities were a disproportionately large part of the population counted

in NRFU. Meaning Blacks, Hispanics and Asians were a disproportionately large share of the

population counted later in the data collection period (i.e. during NRFU) rather than earlier in the

data collection period. This suggests that a shorter data collection period in 2020 will be more

harmful to Blacks, Hispanics, and Asians than for Non-Hispanic Whites.

Table 3.4. Differences in Mail Return Rates, Net Undercounts, and Omissions in the 2010 Census By Race and Hispanic
Origin


                                                     Percentage Point            Percentage Point    Percentage Point
                                                   Difference Between           Difference Between      Difference
                                                  Minorities and Whites            Minorities and   Between Minorities
                2010 Census                        in Mail Return Rates             Whites in Net     and Whites in
                 Mail Return    Net               (September 7, 2020)            Undercount Rates    Omissions Rates
                   Rates     Undercount Omissions Minority Rate Minus           Minority Rate Minus Minority rate Minus
               (September 7)   Rates     Rates          White Rate                  White Rate         White Rate
White*              82.5       -0.84      3.8
Black Alone          70         2.07      9.3              -12.5                        2.9                  5.5
Asian Alone         75.4       -0.08      5.3               -7.1                        0.8                  1.5
Hispanic            69.7        1.54      7.7              -12.8                        2.4                  3.9
Source: Data for Mail Return Rates is from U.S. Census Bureau (2012d) and source for net undercounts and omissions is
O'Hare (2019_)
* Data for Non-Hispanic White not available for Mail Return Rates, but Net Undercount and Omissions Rates reflect non-
Hispanic Whites.



        109.      In addition to the lower self-response rates, data analysis by Center for Urban

Research at the Graduate Center, City University of New York indicate minority populations are

over-represented in the census tracts that are hardest to count. As of August 6, 2020, analysis by

the Center for Urban Research at the Graduate Center, City University of New York show the

population in the hardest to count census tracts (i.e. those in the bottom 20 percent of self-

response rates) was only 44.1 percent Non-Hispanic White even though Non-Hispanic Whites

are 60.2 percent of the total population of the U.S. Thus, 65.9 percent of the population in the

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hardest to count tracts were minorities (i.e. those other than Non-Hispanic Whites) even though

they are only 39.8 percent of the population. In other words, racial and Hispanic minorities are a

disproportionately high share of the population in the hardest to count census tracts as of early

August 2020.

       110.    There is a consistent pattern of responses over the data collection period in the

2010 and 2020 Censuses. Non-Hispanic Whites are a disproportionately large share of the

responses early in the data collection period, and Hispanics, Asians and Blacks are a

disproportionately large share of the responses near the end of data collection period. This

means the end of the data collection period contributes more to the final census count of Blacks,

Hispanics, and Asians than for Non-Hispanic Whites.

       111.    It is my conclusion based on data from the 2010 and 2020 Censuses that

households responding later in the Census data collection period are disproportionately Hispanic,

Asian, and Black rather than Non-Hispanic White. Early truncation of census data collection in

the 2020 Census means there will be less time to gather more census responses and the

households that are missed are likely to be disproportionately Hispanic, Asian, and Black. Thus,

truncating data collection and NRFU operations one month early is likely to result in a failure to

enumerate households that would have been captured if the data collection period and NRFU

continued through the end of October, and that will increase the undercount of minorities more

than the undercount of Non-Hispanic Whites.

4) Impact of NRFU Truncation on Count of Hispanics Asians and Blacks in the 2020 Census

       112.    Collecting data in the NRFU operation is different than collecting data in the self-

response operation. The portion of the population that is most willing to respond to the Census

typically does so early in the self-response phase. The population less willing to respond to the


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census is concentrated in the NRFU population. This means data collection in NRFU is typically

more difficult than in the self-response phase. With respect to the NRFU process relative to the

self-reporting operation in the 2020 Census, former Census Bureau Director Kenneth Prewitt

(2020) stated, “The census self-reporting phase successfully reached 62 percent of the

population. An achievement to applaud. But the next phase is orders of magnitude more

difficult. We’re in the NRFU/Hard-to-count territory.”

       113.    One indicator of the difficulty in getting data from the final segment of

households is reflected in the 2010 Census NFRU evaluation (U.S. Census Bureau 2012a, Table

18) which shows there were about 8 million households that required four or more contact

attempts in the 2010 Census.

       114.    Another reflection of the difficulty in getting respondents to participate in the

NRFU operation is the large share of responses that are “proxy” responses. Proxy responses

involve someone other than a household member providing data for the household. According to

the U.S. Census Bureau (2012a, page 66), “Information we collected for more than half of all

NRFU housing units by proxy respondent – either someone who moved in after April 1, or a

neighbor or other proxy (landlord, property manager, etc.)”. In the 2010 Census NRFU process,

data was collected from a household member only 47 percent of the time. Data collected by

proxies is less accurate than data collected from a household member. Ending the NFRU

operation a month earlier than previously planned is likely to increase reliance on proxy

responses in the 2020 Census and thus result in less accurate data with more omissions and

counting higher net undercount.

       115.    The 2010 Census NRFU workload was an estimated 48 million housing units

(U.S. Census Bureau 2012a) and it was conducted in about ten weeks. In describing the 2010



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NRFU operation, the U. S. Census Bureau (2012a) stated, “The first Nonresponse Followup

operation in the field was Nonresponse Followup and officially began on May 1, although a few

areas began work before that date. All but one of 494 local census offices reported finishing

Nonresponse Followup by July 9 th.”

       116.    As of August 6, 2020, there were approximately 56 million non-responding

housing units in the 2020 Census. In the 2020 Census, the U.S. Census Bureau (2020d) says they

are now planning on only 7 weeks for NRFU (August 11 to September 30). Truncation of the

data collection and NRFU operations in 2020 means the Census Bureau will try to visit and

enumerate 8 million more homes than in 2010, in 7 weeks instead of 10. The number of housing

units to visit increased by 8 million while the number of weeks devoted to the NRFU process

was shortened by 3 weeks. The truncation of the data collection period means the Census Bureau

has less time to do more work.

       117.    The Census Bureau is allowing people to self-respond through the end of the data

collection period. The self-response rate only increased by 0.6 of a percentage point from

August 19 to 27, 2020. This indicates that the vast majority of census responses in the remaining

data collection period will come from NRFU.

       118.    In addition to the possible early truncation of the NRFU operation in the 2020

Census, there are several reasons why one might expect the 2020 Census NRFU operation to be

more difficult than the NRFU operation in the 2010 Census.

       119.    It is widely acknowledged that the COVID-19 pandemic has made census data

collection more difficult. The pandemic has resulted in delayed census data collection and has

complicated getting responses from household ln personal visits. The pandemic has also

negatively affected census hiring.



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       120.    Natural disasters such as hurricanes and forest fires have also made 2020 census

data collection more problematic. When hundreds of thousands of people leave their homes

when a hurricane hits or threatens, they are not available to respond to a census enumerator. In

addition, some housing units that were occupied on April 1 no longer exist after a hurricane. It is

easy to understand how this complicates a complete and accurate census. Typically, the

decennial census data collection is over before the heart of the hurricane seasons hits. Shortening

the amount of time for data collection will compound these problems and produce higher net

undercounts and omission rates. The U.S. Census Bureau’s truncation of data collection in the

2020 Census from October 31, 2020, to September 30, 2020 is likely to impact the NRFU

operation more than the self-response operation (U.S. Census Bureau 2020d). This change

shortens the NRFU period by about one third (one month out of three) but it only shortens the

self-response phase by about one-sixth (one month out of six).

       121.    The NRFU operation is always challenging and reducing the time available to

collect data will make a difficult situation worse. Since Hispanics, Asians, and Blacks are more

dependent on the NRFU process this change will likely result in higher net undercount and

omission rates for those groups. Shortening the NRFU period by a month, is also likely to have a

disproportionate negative impact on the foreign-born population by reducing the number of those

who are counted in the Census.

5) Implications of Net Undercounts and Omissions in the Census

       122.    According to the U.S. Census Bureau, data from the Decennial Census (U.S.

Census Bureau 2017e) is used for:

   •   Allocating political representation

   •   Distribution of federal funds through funding formulas


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   •   Civil rights enforcement

   •   Business applications

   •   Post-Census population estimates and projections

   •   Providing weights for sample surveys

   •   Denominators for rates

   •   Community planning

   •   Economic and social science research

       123.      In particular, it is noteworthy that communities that experience a census

undercount do not get their fair share of political representation and federal dollars distributed

through funding formulas dependent on the Census counts (O’Hare 2019, Chapter 2). They also

miss getting their fair share of dollars distributed by state governments based on census

population counts (O’Hare 2020). According to Reamer (2019) there are 316 federal programs

that distribute funds on the basis of census-related data, and they distributed more the $1.5

trillion in Fiscal Year 2016. In addition, there are more than 10,000 single member political

districts which are drawn on the basis of census data (O’Hare, 2019). Often it is the communities

most in need of assistance that do not get their fair share of help because they are undercounted

in the census.

       124.      Census undercounts and omissions are likely to have multiple negative

ramifications for states and localities. Communities that are undercounted do not get their fair

share of government resources such as political representation and money, and they are often

overlooked in private sector decision-making as well.


6) Conclusion




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              APPENDIX 1
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